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                 Exhibit E
               Case 2:24-cv-01349-NR          Document 20-5        Filed 10/01/24      Page 2 of 3


Boyer, Jacob (GC)

From:               DJ Elias <kelias@kleinbard.com>
Sent:               Monday, September 30, 2024 4:03 PM
To:                 acrouse@adamscountypa.gov; Voye, David; jfwebb@co.armstrong.pa.us; csisk@beavercountypa.gov;
                    jgable@bedfordcounty.pa.gov; sseymour@blairco.org; smithkorsr@bradfordcountypa.gov;
                    elections@buckscounty.org; mdillon@co.cambria.pa.us; mlupro@cameroncountypa.com;
                    elections@centrecountypa.gov; ccelectionofficials@chesco.org; elections@clearfieldco.org,;
                    mrepasky@columbiapa.org; bureauofelections@cumberlandcountypa.gov;
                    DelcoElection@co.delaware.pa.us; kfrey@countyofelkpa.com; voterreg@eriecountypa.gov;
                    jahitchcock@forestcountypa.gov; jcbyers@franklincountypa.gov; electionsdirector@co.fulton.pa.us;
                    rmaryai@indianacountypa.gov; klupone@jeffersoncountypa.com; lsnyder@jeffersoncountypa.com;
                    eweyrich@juniataco.org; HopkinsE@lackawannacounty.org; lcvote@lawrencecountypa.gov;
                    voter@lebcnty.org; elections@luzernecounty.org; flehman@lyco.org; bsperry@mckeancountypa.org;
                    thall@mercercountypa.gov; VoterRegistration@MifflinCO.org; smay-silfee@monroecountypa.gov;
                    montcovotes@montgomerycountypa.gov; hbrandon@montourco.org; election@norcopa.gov;
                    nmanzoni@pikepa.org; cbrown@pottercountypa.net; gkatherman@unionco.org;
                    Laura.Anna@venangocountypa.gov; sguyer@snydercounty.org; kransom@warrencountypa.gov;
                    FKellett@wyomingcountypa.gov; evr@yorkcountypa.gov
Cc:                 Matt Haverstick; Shohin Vance; Samantha Zimmer; Boyer, Jacob (GC)
Subject:            [External] West, et al. v. Pa. Dept. of State, 2:24-cv-01349 (W.D. Pa.)
Attachments:        Filed Complaint - West v. Department of State (W.D. Pa.) 09.25.2024.pdf; West Motion for TRO
                    (09.25.2024).pdf


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On behalf of Matthew H. Haverstick, Esq., please see below and attached :

Dear Sir or Madam:

This firm represents Plaintiffs in the above referenced action (filed on Wednesday, September
25), seeking, among other things, issuance of a preliminary injunction directing the Secretary of
the Commonwealth to accept the Nomination Papers of Cornel West and Melina Abdullah for
President and Vice-President of the United States, respectively. Although the only named
defendants at this juncture are the Department of State and the Secretary of the
Commonwealth, because of its potential impact on the preparation of mail-in and absentee
ballots by the individual county boards of elections, I am sharing with you the filed Complaint,
as well as the Motion for Preliminary Injunction. We urge you to guide yourself accordingly and
monitor the progress of this lawsuit in the coming weeks. Cf. 25 P.S. § 3150.15 (“While any
proceeding is pending in a Federal or State court which would affect the contents of any ballot,
the county board of elections may await a resolution of that proceeding but in any event, shall
commence to deliver or mail official mail-in ballots not later than the second Tuesday prior to the
primary or election.”); cf. also id. at § 3146.5 (same as to absentee ballots). Should you have any
questions or concerns, or wish to discuss the matter further, please do not hesitate to contact me
at your convenience.

Very truly yours,

                                                         1
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Matthew H. Haverstick




DJ Elias
Paralegal
Kleinbard LLC




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